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                                    EMAIL NOTIFICATION


RE:    FEMA-1603-DR-LA, FIPS #071-55000-00
       City of New Orleans
       Criminal Justice and Public Safety Alternate Project
       Proposed Recipient Project: Facilities to House Mental & Medical Needs for Orleans
       Parish Sheriff’s Office Inmates


Dear Grantee/Subgrantee:

The passage of the Consolidated Security, Disaster Assistance and Continuing Appropriations
Act of 2009, Public Law 110-329 (attachment 1), provides authority for FEMA to provide 100
percent funding for the federal share of the approved Alternate Project for any fire, police and
criminal justice facilities that were damaged by Hurricane Katrina or Rita.

The City of New Orleans (CNO) is exercising the latitudes within this law to implement the
Criminal Justice and Public Safety (CJ/PS) Alternate Project for proposed eligible projects.
FEMA approved the first eligible project request in November 20, 2012 (attachment 2). Project
Worksheet (PW) 20494 was the first PW to be obligated utilizing donor funding from 14 PWs
repurposed to fund the construction of various eligible projects as identified by the CNO. FEMA
has continued to work with CNO and the Governor’s Office of Homeland Security and
Emergency Preparedness (GOHSEP) to provide support to repurpose CJ/PS donor funds for
eligible projects that meet the CNO objectives.

CNO identified $36,048,228 FEMA CJ/PS grant funds from donor projects for the construction
of a proposed facility to house Orleans Parish Sheriff’s Office (OPSO) inmates with mental and
medical needs. CNO requested FEMA support this project. In response, FEMA approved and
obligated PW 21117 V0 (attachment 3) for the $2.3M for A/E design fees for the proposed
construction of the mental and medical needs facility at the Orleans Justice Center (OJC). CNO
is to submit the finalized plans and specifications for FEMA program compliance. Upon FEMA
approval, a PW version to PW 21117 will be obligated transferring the balance of the $36M in
unused CJ/PS grant funds so CNO can proceed to construction.

CNO is now considering alternative solutions to satisfy the need for the OPSO mental and
medical needs facility in lieu of the previously approved CJ/PS request. The CNO is now
considering using CJ/PS funds to buildout existing space within OPSO facilities. The grant funds
under the Consolidated Security, Disaster Assistance and Continuing Appropriations Act of
2009, Public Law 110-329 remain available for CNO to exercise the implementation of the
CJ/PS under the law. CNO may request approval to repurpose the CJ/PS funds currently
committed to the mental and medical facility as previously approved. If CNO is to repurpose the
CJ/PS grants, FEMA and GOHSEP must receive a formal request to repurpose the previously
approved alternate project funds and to submit a proposed project with specific construction
details of the proposed project. If the CJ/PS new proposal is approved, CNO will forfeit any
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claimed costs incurred from the proposed design and construction of the mental and medical
needs facility at the OJC.

FEMA will consider a CNO request under the CJ/PS funds for an alternate proposal that may
better meet the needs of the OPSO mental and medical needs facility in lieu of the currently
approved project. If approved, CJ/PS funds may be used to build out improvements or functions
within existing structures to include facilities built through other FEMA grant funds.

If you have any questions regarding this matter, please contact Ronnie Fairley, FEMA Task
Lead, at (703) 463-6938.
                                     EDDIE L     Digitally signed by EDDIE L

Approved by: Eddie Williams          WILLIAMS
                                                 WILLIAMS
                                                 Date: 2020.10.08 17:38:21 -05'00'


Title: Louisiana Public Assistance Lead
Date:

Attachments: 1) FEMA memo on Public Law 110-329 dated October 15, 2008
             2) FEMA letter dated November 20, 2012
             3) FEMA letter dated March 19, 2020
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         ATTACHMENT 1
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         ATTACHMENT 2
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                                                                         u.s. Department of Homeland Security
                                                                         Louisiana Recovery Office
                                                                         One Seine Court. Suite 3062
                                                                         New Orleans, LA 70114
                                                                         (504) 762-2485 office
                                                  Q~'"                   (504) 762-2899 fax


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                                                  ~""DS~C;
                                                             FEMA
                                         November 20,2012


Mark S. Riley
Deputy Director - Disaster Recovery Division
GOHSEP, State of Louisiana
1500 Main Street
Baton Rouge, LA 70802

Re:     Criminal Justice and Public Safety Alternate Project
        City of New Orleans; FIPS #071-55000-00
        FEMA-1603-DR-LA; Project Worksheets #1050, 1057, 1065, 1086, 1118, 1120,5456,
        8483, 11714, 12206, 13608, 13923, 13946, 19038
        FEMA Correspondence Log #5637-0; AIDB #1842


Dear Mr. Riley:

This is in reply to your request on behalf of the City of New Orleans (Applicant) for an Alternate
Project. The Applicant intends to utilize funding from the above referenced Project Worksheets
(PWs), written for damages to criminal justice and public safety facilities throughout the city, to
fund the design and/or construction of eleven sites as described in the Applicant's submitted
plan. A summary of donor and recipient facilities for this Alternate Project is attached
(Attachment 1).

For the contributing facilities that will not be restored, these facilities are no longer eligible for
further Federal assistance on any disaster. In order for the Applicant to be eligible to receive
Public Assistance funding in a subsequent disaster, the Applicant must repair the facilities to
meet codes and standards that would have been approved in accordance with 44 CFR 206.226.
Attached is a summary of the demise for each contributing facility (Attachment 2).

FEMA has conducted the necessary reviews of the Applicant's request, including site visits and
program eligibility determinations. FEMA Environmental and Historic Preservation (EHP) has
divided the overall review into two categories: projects that qualify as Categorically Excluded
under Category 15 per 44 CFR Part 10:8(d)(2)(xv); and projects that' meet the criteria of
Alternate Arrangements. As such, two Records of Environmental Consideration are attached
which contain the related conditions and conclusions for the proposed work.
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Mr. Riley
November 20,2012
20f3

With the passage of the Consolidated Security, Disaster Assistance and Continuing
Appropriations Act of2009, Public Law 110-329, FEMA may allow 100 percent funding for the
federal share of the approved Alternate Project for any fire, police, and criminal justice facilities
that were damaged by Hurricane Katrina or Rita. The total eligible costs of the subject PWs that
have been identified as part of this Alternate Project are estimated at $37,659,163.96.
Demolition and/or completed work costs in the amount of $505,067.17 will be reduced from the
eligible amount and will be retained in their original PWs. Therefore, the request for an
Alternate Project is approved and capped for $37,154,096.79. Insurance proceeds estimated at
$3,303,882.76 will be reduced from this amount. Therefore, the federal contribution for this
capped Alternate Project is $33,850,214.03. A complete breakdown of eligible funding for the
contributing PWs is included (Attachment 3).

Project Management (PM) fees will not be transferred to this Alternate Project and will remain in
the consolidated PM Project Worksheet (PW 17452). The Applicant should closely track PM
costs and is advised that the PM is capped based upon the original scope of work of the donor
PWs included in this Consolidated Alternate Project.

If GOHSEP or the Applicant identifies any discrepancies in the information provided in this
letter, including but not limited to project description, scope of work, or costs please contact
FEMA immediately with a list of specific items for resolution.

Please advise the Applicant that these funds are estimated and may be adjusted based on PW
reviews, anticipated or actual insurance proceeds, NFIP reductions, or other applicable credits to
prevent a duplication of benefits per 44 CFR 206.226( a) (1 ). Any balance of funds necessary for
completing the additional work under the Alternate Project will be the responsibility of the
Applicant. Upon completion of the Alternate Project, ifthere are any funds remaining from the
amount granted, the Applicant may request additional scope of work to exhaust the amount
granted. The Applicant is advised that the request must be submitted through the State for
FEMA's review and acceptance prior to commencement of any work. The Applicant is also
advised that any additional scope of work must be completed within the timeframe outlined for
the initial scope of the Alternate Project. Any new construction must comply with federal
floodplain regulations.

The Applicant must comply with 44 CFR 206.252 and 206.253, which states that assistance
under Section 406 of the Stafford Act will be approved only on the condition that insurance is
obtained and maintained in such types and amounts as are reasonable and necessary to protect
against future loss. The Applicant must provide GOHSEP with insurance policy documentation
that confirms the Applicant's compliance with the Stafford Act. The Applicant must provide
evidence of insurance for the facilities identified in this request.

My staff has prepared a new PW to reflect approval of this funding option. As such, any
required time extensions will be addressed when the new PW is obligated. The contributing
PWs for this Alternate Project do not require time extensions (Attachment 4).
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Mr. Riley
November 20,2012
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Please do not hesitate to contact me if you have any questions about this determination or need
additional information.



                                                             :~~
                                                    Andre Cadogan
                                                    Deputy Director, Programs
                                                    Louisiana Recovery Office


Enclosures:    Attachment 1 - Consolidated Alternate Project - List of Donor Facilities and
                   Recipient Facilities
               Attachment 2 - Consolidated Alternate Project - Demise of Contributing
                   Facilities
               Attachment 3 - Consolidated Alternate Project - Funding Spreadsheet
               Attachment 4 - Consolidated Alternate Project - Contributing Facilities PW
                  Time Extensions
               FEMA Record of Envirorunental Consideration (Categorically Excluded),
                   dated October 12,2012
               FEMA Record of Envirorunental Consideration (Alternative Arrangements),
                   dated October 12,2012

cc:     Mark DeBosier, State Coordinating Officer, GOHSEP
        Kaylen Eckert, Federal and State Grants Manager, City of New Orleans
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          ATTACHMENT 3
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